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O 442 (Rev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT

for the

District of Columbia

United States of America

v. ) Case: 1:22-mj-00104
Bian Korie ) Assigned to: Judge Meriweather, Robin M.
) Assign Date: 5/11/2022
Description: COMPLAINT W/ ARREST WARRANT
_ - a )
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) Brian Korte

who Is accused of an offense or violation based on the following document filed with the court: |

1 Indictment CO Superseding Indictment O Information  Superseding Information [% Complaint

© Probation Violation Petition O Supervised Release Violation Petition O Violation Notice O Order of the Court
This offense is briefly described as follows:

18 U.S.C. § 1752(a)(1)- Entering and Remaining in a Restricted Building or Grounds

18 U.S.C. § 1752(a)(2)- Disorderly and Disruptive Conduct in a Restricted Building or Grounds
40 U.S.C. § 5104(e)(2)(D)- Disorderly Conduct in a Capitol Building,

40 U.S.C. § 5104(e)(2)(G)- Parade, demonstrate, or picket in any of the Capitol Buildings.

2022.05.11 13:45:03
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Date: | 05/11/2022 __ / ee ee —

“Issuing officer's signatur e

City andstate: = =————SWashington,D.C. ___ Robin M. Meriweather, U.S. Magistrate Judge

Printed name and title

Return

This warrant was received on (date) — & i} i es a 03a, and the person was arrested on (date) _ s/ 20/2028
at (cityand state) Bes Yorle Haven, PA

owe S/20/2. a __Stbyp oe

Arrestin r's signature

Specral Agent Ey bygo

Printed name and title

